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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO


 Civil Action No.: 23 -cv-1211-DDD-MDB

 THE ESTATE OF CRISTO JESUS CANETT,
 by and through its personal representative, Elizabeth Naranjo;

        Plaintiff,

 v.

 WELLPATH, LLC;
 SHERIFF JOSEPH ROYBAL, in his official capacity;
 ANTHONY LUPO, individually; and
 MICHELLE SILVA, individually;

        Defendants.

______________________________________________________________________________


                SUGGESTION OF BANKRUPTCY AND NOTICE OF STAY

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES, Michelle Silva (“Defendant”), defendant in the above-captioned

proceeding, files this Suggestion of Bankruptcy and Notice of Stay and would respectfully show

the Court the following:

       1.      On November 11, 2024 (the “Petition Date”), Wellpath LLC (the “Debtor”) filed a

Voluntary Petition for Non-Individuals Filing Bankruptcy (the “Voluntary Petition”) for relief

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States

Bankruptcy Court for the Southern District of Texas (Houston Division) (the “Bankruptcy Court”),

commencing Case No. 24-90563-(ARP). A copy of the Voluntary Petition is attached hereto as

Exhibit A.




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       2.      Pursuant to section 362 of the Bankruptcy Code, the filing of the Voluntary Petition

operates as a stay of:

            a. “[T]he commencement or continuation, including the issuance or employment of

               process, of a judicial, administrative, or other action or proceeding against the

               [D]ebtor that was or could have been commenced before the commencement of the

               case under this title, or to recover a claim against the [D]ebtor that arose before the

               commencement of the case under this title;

            b. [T]he enforcement, against the [D]ebtor or against property of the estate, of a

               judgment obtained before the commencement of the case under this title;

            c. [A]ny act to obtain possession of property of the estate or of property from the

               estate or to exercise control over property of the estate;

            d. [A]ny act to create, perfect, or enforce any lien against property of the estate;

            e. [A]ny act to create, perfect, or enforce against property of the [D]ebtor any lien to

               the extent that such lien secures a claim that arose before the commencement of the

               case under this title;

            f. [A]ny act to collect, assess, or recover a claim against the [D]ebtor that arose before

               the commencement of the case under this title;

            g. [T]he setoff of any debt owing to the [D]ebtor that arose before the commencement

               of the case under this title against any claim against the [D]ebtor; and

            h. [T]he commencement or continuation of a proceeding before the United States Tax

               Court concerning a tax liability of a debtor that is a corporation for a taxable period

               the bankruptcy court may determine or concerning the tax liability of a debtor who




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                is an individual for a taxable period ending before the date of the order for relief

                under this title.”

11 U.S.C. § 362(a).

       3.       In addition, on November 12, 2024, the Bankruptcy Court entered an Amended

Interim Order Enforcing the Automatic Stay [Docket No. 69] (the “Stay Order”), pursuant to which

the above-captioned proceeding, among other lawsuits filed as of the Petition Date in which a

Debtor is named as one of the defendants therein, is stayed in its entirety, including the plaintiffs’

claims against the non-Debtor defendants, which in this case includes Michelle Silva, on an interim

basis pursuant to section 362 of the Bankruptcy Code. A copy of the Stay Order is attached hereto

as Exhibit B.

       4.       As a result of the operation of the automatic stay, all parties are stayed from any

further continuation of these proceedings until such time as the Bankruptcy Court may order

otherwise.

       5.       The automatic stay has not been lifted or otherwise modified; the automatic stay

referenced above remains in effect.

       6.       The Debtor reserves its right to bring an action in the Bankruptcy Court for any

violation of the automatic stay.




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       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Court take notice

of the automatic stay and that further action be stayed and for such other and further relief as to

which it may be justly entitled.



Respectfully submitted this 19th day of November, 2024.



                                                     GORDON REES SCULLY
                                                     MANSUKHANI, LLP


                                                      /s/ Christopher R. Jones
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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of November, 2024, I filed the foregoing Suggestion
of Bankruptcy and Notice of Stay electronically with the Clerk of Court using the CM/ECF
system which will send notification of such filing to all counsel of record.

                                                /s/ Alissa B. Giler




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